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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )  No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit this Court’s Memorandum Opinion and Order of August 19, 2021,

granting Plaintiffs’ Motion for Preliminary Injunction, ECF No. 79, as well as any and all

associated opinions and orders.



Date: August 20, 2021                        Respectfully submitted.

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                             CERTIFICATE OF COMPLIANCE
       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 47, as counted by Microsoft Word.


                                             /s/ Adam Kirschner
                                             ADAM D. KIRSCHNER



                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on August 20, 2021.


                                             /s/ Adam Kirschner
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